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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER DENYING MOTION FOR
                                                  LEAVE TO FILE MOTION FOR
   Ginkel v. Monsanto Co.,                        RECONSIDERATION
   Case No. 3:22-cv-00358-VC
                                                  Re: Dkt. No. 20381



       The motion for leave to file motion for reconsideration is denied.

       IT IS SO ORDERED.

Dated: March 28, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
